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 __________________________________




    A.

         1.                                _____________________________________




                                       1
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                                                          _____




    B.


         6.


                a.




                                       2
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                b. Generic Manufacturers:




                c. Distributors:




                d. Retailers:




                e.




                f.




                                        3
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    C.


         7.



               ______________ District of _______


         8.




         11.




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        12.    Defendants, by their actions or inactions, proximately caused the injuries to
               Plaintiff(s)




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                        V.   CAUSES OF ACTION ASSERTED




                                             ______________________________




                               _______________________________________________

                               _______________________________________________

                    I          _______________________________________________



                                       6
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                        ,         or Count XVIII




                                       7
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Attorney 1 Signature:__________________________       Attorney 1 Signature:__________________________
Attorney 1 Print:______________________________       Attorney 1 Print:______________________________
Attorney 2 Signature:__________________________       Attorney 2 Signature:__________________________
Attorney 2 Print:______________________________       Attorney 2 Print:______________________________
Firm: ______________________________________          Firm: ______________________________________
Address 1: __________________________________         Address 1: __________________________________
Address 2: __________________________________         Address 2: __________________________________
City: ____________________________                    City: ____________________________
State: ___________________________                    State: ___________________________
Zip: _____________                                    Zip: _____________
Email: _____________________________________          Email: _____________________________________
Phone: ______________________                         Phone: ______________________




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